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SO ORDERED

Date signed November 01, 2004




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND

        In re:                                     *

        MCSi, INC.                                 *    CASE NO.: 03-8-0169-JS
                                                        (Chapter 11)
                     Debtor                        *
        *      *     *    *         *      *       *

        FORD MOTOR CREDIT COMPANY                  *

                     Movant                        *

               v.                                  *

        MSCi, INC.                                 *

                     Respondent                    *
        *      *     *    *     *          *       *    *      *      *     *     *

                     CONSENT ORDER TERMINATING AUTOMATIC STAY
            (2002 Ford E250 Econoline Van, Serial No.: 1FTNE24L02HA32538)


                     Upon consideration of the Motion Seeking Relief from

        Automatic Stay and to Reclaim Property filed by Ford Motor

        Credit Company, the Movant, with regard to the vehicle subject

        to its perfected purchase money security interest, namely, one

        2002 Ford E250 Econoline Van, serial number 1FTNE24L02HA32538;

        and Movant and the Respondent, MSCi, Inc., having agreed to the
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terms of this Consent Order;            it is, by the United States

Bankruptcy Court for the District of Maryland,

          ORDERED, that the automatic Stay be, and it hereby

is, terminated to allow Movant to repossess and/or to dispose

of the above-described vehicle; and it is further

          ORDERED, that Movant shall dispose of said vehicle in

a commercially reasonable manner and shall pay any surplus sale

proceeds to the Respondent.

          AND IT IS FURTHER ORDERED, that the Respondent having

waived the application of F.R.Bankr.P. 4001(a)(3), this Order

shall be enforceable on the date of its entry.


          The undersigned hereby agree to the terms of the
foregoing Consent Order Terminating Automatic Stay.


 /s/ John F. Carlton                /s/ Michael J. Klima, Jr.
JOHN F. CARLTON #06591              MICHAEL J. KLIMA, JR. #25562
7 St. Paul Street                   Suite 444, World Trade Center
Suite 1400                          401 E. Pratt Street
Baltimore, MD 21202                 Baltimore, MD 21202-3091
(410) 347-8700                      (410) 837-1140
Attorney for Debtor/                Attorney for Movant
Respondent                          Attorney File No.: 04-1270

          I HEREBY CERTIFY, that the terms of the copy of the
Consent Order submitted to the Court are identical to those set
forth in the original Consent Order; and the signatures
represented by the /s/ on this copy reference the signatures
of consenting parties on the original Consent Order.

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cc:   Michael J. Klima, Jr., Esquire
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                             End of Order




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